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             EXHIBIT A
Winecup’s Supplemental Expert Disclosures
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13
                                           UNITED STATES DISTRICT COURT
14
                                               DISTRICT OF NEVADA
15
       UNION PACIFIC RAILROAD COMPANY, a                   Case No. 3:17-cv-00477-LRH-CLB
16     Delaware Corporation,
                                                           WINECUP GAMBLE’S
17
                                  Plaintiff,               SUPPLEMENTAL EXPERT
18                                                         DISCLOSURE REGARDING NEVADA
                v.                                         STATE ENGINEERS
19
       WINECUP GAMBLE, INC., a Nevada
20     Corporation,
21                                Defendant.
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 1             Winecup Gamble hereby submits a supplemental expert disclosure for Luke Opperman,

 2    April Holt, and Edward Quaglieria. This disclosure is made pursuant to Federal Rule of Civil

 3    Procedure Rule 26(a)(2)(C).

 4             Luke Opperman, April Holt, and Edward Quaglieria have all previously been disclosed as

 5    witnesses, including in the pre-trail order. Further, each witness has been deposed by Union

 6    Pacific, at which time the subject matter of their testimony and a summary of the facts and

 7    opinions to which each witness is expected to testify was disclosed. As such, Winecup asserts that

 8    these witnesses have already been properly disclosed. Nevertheless, it submits this supplemental

 9    disclosure in response to Union Pacific’s claim set forth in ECF No. 128 that Luke Opperman’s

10    expert opinion was not previously disclosed in an expert report.

11             None of these witnesses were required to provide a written report in order to provide

12    expert testimony. Each witness worked as an engineer for the Nevada Division of Water

13    Resources at the time relevant to their potential testimony in this case. None of these individuals

14    have been employed at any time by Winecup, and none have been retained to provide expert

15    testimony in this case.

16             The following is a description of the subject matter on which each witness is expected to

17    testify and a summary of the facts and opinions about which the witness is expected to testify.

18             1. Luke Opperman

19             Mr. Opperman is a Civil Engineer. He is expected to testify about the condition of the 23-

20    Mile Dam and the Dake Dam at the time he inspected them in 2016 and the inspection report

21    subsequently issued for each dam. He is also expected to testify about his investigation into the

22    flood that occurred on February 7-8, 2017 that resulted in the overtopping of the 23-Mile Dam,

23    including his post-flood field inspection of the 23-Mile Dam and Dake Dam and his opinion on

24    the cause and effect of the 23-Mile Dam failure and subsequent flooding. A further summary of

25    his expected testimony is also contained in his deposition transcript, which was taken on April 8,

26    2019.

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 1             2. April Holt

 2             Ms. Holt has a degree in Environmental Engineering. She was designated by the State of

 3    Nevada Division of Water Resources as a 30(b)(6) witness. She is expected to testify about the

 4    condition of the 23-Mile Dam and the Dake Dam at the time she inspected them in 2016 and the

 5    inspection report subsequently issued for each dam. A further summary of her expected testimony

 6    is also contained in her deposition transcript, which was taken on April 18, 2018.

 7             3. Edward Quaglieria

 8             Mr. Quaglieri is a Civil Engineer. He was designated by the State of Nevada Division of

 9    Water Resources as a 30(b)(6) witness. He is expected to testify about his investigation into the

10    flood that occurred on February 7-8, 2017 that resulted in the overtopping of the 23-Mile Dam,

11    including his post-flood field inspection of the 23-Mile Dam and Dake Dam and his opinion on

12    the cause and effect of the 23-Mile Dam failure and subsequent flooding. A further summary of

13    his expected testimony is also contained in his deposition transcript, which was taken on April 18,

14    2018.

15     DATED: May 13, 2020                                  /s/ David J. Jordan
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 1                                      CERTIFICATE OF SERVICE

 2             I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen

 3    (18) years, and I am not a party to, nor interested in, this action. On this date, I served a true and

 4    correct copy of the foregoing WINECUP GAMBLE’S SUPPLEMENTAL EXPERT

 5    DISCLOSURE REGARDING NEVADA STATE ENGINEERS via email to the following:

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               Attorneys for Plaintiff Union Pacific Company
14
               Dated this 13th day of May, 2020.
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17                                                   /s/ Michael Menssen
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